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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MICHAEL PEACE,                                     Case No. 21-cv-01227-SI (pr)
                                   8                    Plaintiff,                          ORDER EXTENDING DEADLINES
                                   9             v.
                                                                                            Re: Dkt. No. 15
                                  10     DEPUTY HARRY WU, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Defendants have filed a second request for an extension of time to file their dispositive

                                  14   motion. Upon due consideration of the request and the accompanying declaration of attorney

                                  15   Margaret S. Schroeder, the request is GRANTED. Docket No. 15. The court now sets the following

                                  16   briefing schedule: Defendants must file and serve a dispositive motion no later than January 31,

                                  17   2022. If defendants are of the opinion that the case cannot be resolved by dispositive motion, they

                                  18   must file and serve such a notice by the deadline. Plaintiff must file and serve his opposition to the

                                  19   dispositive motion no later than February 28, 2022. Defendants must file and serve their reply

                                  20   brief no later than March 14, 2022.

                                  21          IT IS SO ORDERED.

                                  22   Dated: October 20, 2021

                                  23                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  24                                                    United States District Judge
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